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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA

Vv.

RALPH JOSEPH CELENTANO III,

Criminal Action No. 22-186 (TJK)

Defendant.

 

 

VERDICT FORM

Please indicate your verdicts with a checkmark. Your verdict on each count must be unan-

imous.

Count One:

A.

Assaulting, Resisting, or Impeding Officer Kendrick Ellis
18 U.S.C. § 111(a)Q)

Verdict on Count One

x

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Not Guilty _ Guilty

If your verdict on Count One is “Not Guilty,” skip Part B and proceed to Count
Two. Ifyour verdict on Count One is “Guilty,” proceed to Part B.

Further Questions on Count One

Which of the following condition or conditions do you unanimously find the gov-
ernment has proven beyond a reasonable doubt?

Condition One: The defendant made physical contact with Officer
Kendrick Ellis.

No Yes V/

Condition Two: The defendant acted with the intent to commit another fel-
ony.

No Yes VV
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If and only if you answered “Yes” to Condition Two, which felony or felonies do
you unanimously find that the defendant acted with the intent to commit?

Count Two, Interference with Officers During a Civil Disorder ff

Count Seven, Obstructing an Official Proceeding

 

Count Two: Interference with Officers During a Civil Disorder
18 U.S.C. § 231(a)(3)

A. Verdict on Count Two
Not Guilty Guilty /
If your verdict on Count Two is “Not Guilty,” skip Part B and proceed to Count
Three. If your verdict on Count Two is “Guilty,” proceed to Part B.

B. Further Questions on Count Two

Which of the following condition or conditions do you unanimously find the gov-
ernment has proven beyond a reasonable doubt?

Condition One: The civil disorder obstructed, delayed, or adversely af-
fected commerce or the movement of an article or commodity in commerce.

No Yes \4

Condition Two: The civil disorder obstructed, delayed, or adversely af-
fected the conduct or performance of a federally protected function.

No Yes /

 
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Count Three:

Entering or Remaining in a Restricted Building or Grounds
18 U.S.C. § 1752(a)(1)

Not Guilty Guilty \ /

 

Count Four:

Disorderly and Disruptive Conduct in a Restricted Building or Grounds
18 U.S.C. § 1752(a)(2)

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Not Guilty Guilty J

 

Count Five:

Engaging in Physical Violence in a Restricted Building or Grounds
18 U.S.C. § 1752(a)(4)

Not Guilty Guilty /

 

Count Six:

Act of Physical Violence in the Capitol Grounds or Buildings
40 U.S.C. § 5104(e)(2)(F)

Not Guilty Guilty VY

 

Count Seven:

Obstructing an Official Proceeding and Aiding and Abetting
18 U.S.C. § 1512(c)(2)

Not Guilty df Guilty

 

Date: | \2 , 2023

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